                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

  THE STATE OF TEXAS,                               §
      Plaintiff,                                    §
                                                    §
  v.                                                §   CIVIL ACTION NO. 3:21-CV-309
                                                    §
  JOSEPH R. BIDEN, in his official                  §
  capacity as President of the United               §
  States, et al.,                                   §
          Defendants.                               §


                             THE STATE OF TEXAS’S
                       NOTICE OF SUPPLEMENTAL AUTHORY



       Plaintiff the State of Texas respectfully submits this notice of supplemental authority

to bring to the Court’s attention to an Order issued today in Georgia v. Biden, No. 1:21-cv-163

(S.D. Ga. Dec. 7, 2021), attached as Exhibit A. This Order enjoins enforcement of the vaccine

mandate in “any state or territory of the United States of America.” Slip op. at 27.

       In Georgia v. Biden, a coalition of states and officials brought claims against President

Biden and his administration regarding the Contractor Mandate, making substantially similar

allegations as those Texas has made in this matter and seeking a temporary restraining order

and preliminary injunction. The court granted the preliminary injunction, finding that “EO

14042 goes far beyond addressing administrative and management issues . . . and instead, in

application, works as a regulation of public health,” id. at 20, and that “EO 14042’s directives

and resulting impact radiate too far beyond the purposes of the Procurement Act and the

authority it grants to the President,” id. at 23.
                                           Respectfully submitted.

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                                      CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document and all attachments were filed via

CM/ECF, causing electronic service on all counsel of record.



                                                    /s/ Christopher D. Hilton
                                                    CHRISTOPHER D. HILTON




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